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 1 Christopher B. Ghio (State Bar No. 259094)
   Christopher Celentino (State Bar No. 131688)
 2 Jeremy B. Freedman (State Bar No. 308752)
   DINSMORE & SHOHL LLP
 3 655 West Broadway, Suite 800
   San Diego, CA 92101
 4 Telephone: 619.400.0500
   Facsimile: 619.400.0501
 5 christopher.ghio@dinsmore.com
   christopher.celentino@dinsmore.com
 6 jeremy.freedman@dinsmore.com

 7 Special Counsel to Plaintiff and Chapter 11 Trustee,
   Richard A. Marshack
 8
                         UNITED STATES BANKRUPTCY COURT
 9
              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10

11
     In re:                                         Case No.: 8:23-bk-10571-SC
12
     THE LITIGATION PRACTICE GROUP P.C.,            Adv. Proc. No. 8:23-ap-01046-SC
13
              Debtor.                               Chapter 11
14
                                                    STIPULATION FOR JUDGMENT
15 RICHARD A. MARSHACK,                             (1) AVOIDING, RECOVERING, AND
   Chapter 11 Trustee,                              PRESERVING TRANSFERS TO
16                                                  DEFENDANT, PHOENIX LAW GROUP,
                                                    INC.; (2) TURNING OVER OF ALL
17                       Plaintiff,                 TRANSFERRED PROPERTY TO
                                                    TRUSTEE; AND (3) DISMISSING
18                         v.                       WITHOUT PREJUDICE DEFENDANTS
                                                    WILLIAM TAYLOR CARSS AND
19 TONY DIAB, an individual; DANIEL S.              MARIA EEYA TAN
   MARCH, an individual; ROSA BIANCA LOLI,
20 an individual; LISA COHEN, an individual;     Judge: Hon. Scott C. Clarkson
   WILLIAM TAYLOR CARSS, an individual;          Place: Courtroom 5C
21                                                      411 W. Fourth Street
   ENG TANG, an individual; MARIA EEYA TAN,             Santa Ana, CA 92701
22 an individual; JAKE AKERS, an individual; HAN
   TRINH, an individual; JAYDE TRINH, an
23 individual; WES THOMAS, an individual;
   SCOTT JAMES EADIE, an individual; JIMMY
24 CHHOR, an individual; DONGLIANG JIANG,
   an individual; OAKSTONE LAW GROUP PC;
25
   GREYSON LAW CENTER PC; PHOENIX
26 LAW GROUP, INC.; MAVERICK
   MANAGEMENT, LLC; LGS HOLDCO, LLC;
27 CONSUMER LEGAL GROUP, P.C.; VULCAN
   CONSULTING GROUP LLC; B.A.T. INC. d/b/a
28

     #31154040v1                                  1
                                      STIPULATION FOR JUDGMENT
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                              PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2     address is:
                                               Dinsmore & Shohl LLP
 3                                        550 S. Hope Street, Suite 1765
                                           Los Angeles, California 90071
 4
      A true and correct copy of the foregoing document entitled (specify): Stipulation for
                                                                                 Judgment (1)
 5    Avoiding, Recovering, and Preserving Transfers to Defendant, Phoenix Law Group, Inc.; (2)
      Turning Over All Transferred Property to Trustee and (3) Dismissing Without Prejudice
 6    Defendants William Taylor Carss and Maria Eeya Tan will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 7    below:

 8   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 9    hyperlink to the document. On June 27, 2023, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
10    receive NEF transmission at the email addresses stated below:

11
                                                                 Service information continued on attached page
12
     2. SERVED BY UNITED STATES MAIL:
13    On (date) June 27, 2023, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
14    envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
      judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
15    after the document is filed.

16
                                                                 Service information continued on attached page
17
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
18    (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      June 27, 2023, I served the following persons and/or entities by personal delivery, overnight mail service,
19    or (for those who consented in writing to such service method), by facsimile transmission and/or email as
      follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to,
20    the judge will be completed no later than 24 hours after the document is filed.

21
                                                                 Service information continued on attached page
22
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
23     correct.

24   June 27, 2023            Katrice Ortiz                               /s/ Katrice Ortiz
     Date                     Printed Name                       Signature
25

26

27

28
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                               In re The Litigation Practice Group, P.C.
 1                            U.S.B.C., Central District of California, Santa Ana
                                         Case No. 8:23-bk-10571-SC
 2                                 Adv. Proc No. 8:23-ap-01046-SC

 3    I. SERVED ELECTRONICALLY VIA NEF:

 4             Christopher Celentino: christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
               Leslie A Cohen: leslie@lesliecohenlaw.com,
 5              jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
               Christopher Ghio: christopher.ghio@dinsmore.com
 6             Richard H Golubow: rgolubow@wghlawyers.com,
                jmartinez@wghlawyers.com;svillegas@wghlawyers.com
 7
               Daniel A Lev: daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
               Richard A Marshack (TR): pkraus@marshackhays.com,
 8
                rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
 9             Kenneth Misken: Kenneth.M.Misken@usdoj.gov
               Queenie K Ng: queenie.k.ng@usdoj.gov
10             Douglas A Plazak: dplazak@rhlaw.com
               Ronald N Richards: ron@ronaldrichards.com, 7206828420@filings.docketbird.com
11             Jonathan Serrano: jonathan.serrano@dinsmore.com
               Andrew Still: astill@swlaw.com, kcollins@swlaw.com
12             United States Trustee (SA): ustpregion16.sa.ecf@usdoj.gov
               Johnny White: JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com
13
     B.         SERVED VIA REGULAR U.S. MAIL:
14

15              N/A
     III.       SERVED VIA OVERNIGHT MAIL (FED EX):
16

17              United States Bankruptcy Court
18              Honorable Scott Clarkson
                United States Bankruptcy Court
19              Central District of California
20              411 West Fourth Street, Suite 5130 / Courtroom 5C
                Santa Ana, California 92701
21

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